                                                                I            .
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                               UNITED STATES DISTRICT COURT
                                     EASTERN DISTRICT OF MISSOURI
                                  THOMAS F. EAGLETON U.S. COURTHOUSE
                                          111 S. TENTH STREET
                                       ST. LOUIS, MISSOURI 63102


     AUDREY G. FLEISSIG
UNITED STATES DISTRICT JUDGE                                                         PHONE: (314) 244-7420
                                                                                       FAX: (314) 244-7429


                                           May 30, 2019


    Loren Copp
    St. Charles County Department of Corrections
    301North2nd Street
    St. Charles, Missouri 63301

    Dear Mr. Copp:

          I am in receipt of your letter received on May 21, 2019. By copy of this letter, I am
   forwarding the letter to attorney Joel Schwartz who has agreed to follow-up on your behalf.


                                              Sincerely,


                                               ~~·~
                                              Audrey G. Fleissig                 ~
                                              United States District Judge


   cc:     Joel Schwartz
